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UNITED STATES BANKRUPTCY COURT FOR THE
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
CHAPTER 13 PLAN

Debtor(s) William L. Douglas Case No.: 8:1 l-bk-12773-MGW

 

[ # Amended (if applicable)] Chapter 13 Plan

1. MONTHLY PLAN PAYMENTS: Including Trustee’s fee of 10% and beginning
thirty (3 0) days from filing/conversion date. Debtor 1 to pay to the Trustee for the period
of 60 months. In the event the Trustee does not retain the full 10%, any portion
not retained will be paid to unsecured creditors pro-rata under the plan:

A. $ 151.00 for months l to 60 ;
B. $ for months to ;
C. $ for months to ;

 

 

 

 

in order to pay the following creditors:

2. ADMINISTRATIVE ATTORNEY FEE: $ 2,400.00 TOTAL PAID $ 1 600.00

 

Balance Due $ 800.00 Payable Through Plan $ Monthly

3. PRIORITY CLAIMS: ];_1§ defined in 11 U.S.C. 8507|

Name of Creditor Total Claim

 

 

 

 

TRUSTEE FEES: Trustee shall receive a fee from each payment received, the
percentage of which is fixed periodically by the United States Trustee.

SECURED CLAIMS:

Pre-Confirmation Adequate Protection Payments: No later than 3 0 days after
the date of the filing of this Plan or the Order for Relief, whichever is earlier, the Debtor
Shall make the following adequate protection payments to creditors pursuant to
§l326(a)(l)(C). If the Debtor makes such adequate protection payments on allowed

 

1All references to “Debtor” include and refer tn both of the debtors in a case filed jointly by two individuais.

 

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claims to the Trustee pending confirmation of the Plan, the creditor shall have an
administrative lien on such payment(s)_, subject to objection.

Name of Creditor Collateral Adequate Protection Payment in Plan

 

 

 

 

(A) Claims Secured by Real Property Which Debtor Intends to Retain/
Mortgage Paymcnts Paid Through the Plan: Debtor will pay, in addition to all other
Sums due under the proposed Plan, all regular monthly post-petition mortgage payments
to the Trustee as part of the plan. These regular monthly mortgage payments, which may
be adjusted up or down as provided for under the loan documents, are due beginning the
first due date after the case is filed and continuing each month thereafter The Trustee
shall pay the post-petition mortgage payments on the following mortgage claims:

Name of Creditor Security Collateral Estimated Payment

 

 

 

 

(B) Claims Secured by Real Property Which Debtor Intend(s) to Retain/
Arrearages Paid Through the Plan: ln addition to the provisions in Paragraph A
above requiring all post-petition mortgage payments to be paid to the Trustee as part of
the Plan, the Trustee shall pay the pre-petition arrearages on the following mortgage
claims:

Name of Creditor Security Collateral Arrearages

 

 

 

 

 

(C) Ciaims Seeured by Personal Property to Which Section 506 Valuation
is NOT Applicable Secu red Balances: Upon confirmation of the Plan, the interest rate
shown below or as modified will be binding unless a timely written objection to

 

 

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confirmation is filed and sustained by the Court. Payments distributed by the Trustee are
subject to the availability of funds.

Creditor Collateral Ad.Prot.Pmt. Sec.Balance Interest@ %

 

 

 

 

 

(D) Claims Secured by Personal Property to Which Section 506 Valuation
is Applicable:

Creditor Collateral Ad.Prot.Pmt.in Plan Value Interest@ %

 

 

 

 

 

(E) Claims Secured by Personal Property: Regular Adequate Protection
Payments and any Arrearages Paid in Plan:

Name of Creditor Collateral Ad. Prot. Pmt.in Plan Arrearages

 

 

 

 

(F) Secured Claims/Lease Claims Paid Direct by the Debtor: The following
secured claims/lease claims are to be paid direct to the creditor or lessor by the Debtor
outside the Plan. The automatic stay is terminated fn rem as to these creditors and
lessors upon the filing of this Plan. Nothing herein is intended to terminate any codebtor
stay or to abrogate the Debtor’s state law contract rights. The Plan must provide for the
assumption of lease claims in the Lease/Executory Contract section below.

Name of Creditor Property/Collateral

 

Weils Fargo 4913 30“1 Ave, E.
Bradenton, FL

 

 

 

(G) Surrender of Collateral/Leased Property: Debtor will surrender the following
collateral/leased property no later than thirty (30) days from the filing of the petition
unless specified otherwise in the Plan. The automatic stay is terminated fn rem as to
these creditors/lessors upon the filing of this Plan. Nothing herein is intended to lift any

 

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applicable codebtor stay or to abrogate Debtor’s state law contract rights. The Plan
must provide for the rejection of lease claims in the Lease/Executory Contract section
below.

‘ Name of Creditor Property/Collateral to be
' Surrendered

 

 

 

 

 

SECURED - LIENS TO BE AVOIDED)'STRIPPED:

Name of Creditor Collateral Estimated Amount

 

 

 

 

 

LEASE/EXECUTORY CONTRACTS:

Name of Creditor Property Assume/Reject-Su rrender Estimated Arrears

 

 

 

UNSECURED CREDITORS: Unsecured creditors with allowed claims shall receive
a pro rata share of the balance of any funds remaining after payments to the above
referenced creditors or shall otherwise be paid pursuant to the provisions of a subsequent
Order Confirrning Plan. The estimated dividend to unsecured creditors is $8,000,00.

ADDTIONAL PROVISIONS:

1. Secured creditors, whether or not dealt with under the Plan, shall retain the liens
securing such claims;

2. Payments made to any creditor Shall be based upon the amount set forth in the
creditor’s proof of claim or other amount as may be allowed by a Specific Order of the
Bankruptcy Court.

3. Property of the estate shall not vest in Debtor until the earlier of Debtor’s discharge
or dismissal of this case, unless the Court orders otherwise

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4. The amounts listed for claims in this Plan are based upon Debtor’s best estimate and
belief The Trustee shall only make payments to creditors with filed and allowed proof
Of claims Aii allowed proof of claim will be controlling, unless the Court Orders

otherwise

5. Case Speciiic Provisions

 

 

 

 

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DECLARATION

l._ William L. Douglas. debtor in this case. declare under penalty ofperjury that
l have read the foregoing Chapter 13 Plan, consisting ofb Sheets, and that it iS true and
correct to the best of my information and belief

Signature: _ ' 4 / / [)ate:%“/'_S,"q
Williani L. Douglas :

 

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true copy of the Chapter 13 Plan has been
served electronically or by regular U.S. mail to the debtors, William L. Douglas, 4913
30“‘ Ave. E., Bradenton, FL 34208; United States Trustee, 501 E. Polk Street, Ste. 1200,
Tampa, FL 33602', and Chapter 13 Trustee, Terry E. Smith, P.O. Box 25001, Sun City

Center, FL 33571 OR Jon M. Waage, P.O. Box 25001, Bradenton, FL 34206-5001 this

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